Jefferson Parish Sheriffs Office
1233 Westbank Expressway
Building B, 5th Floor
Harvey, LA 70058                                                          Office:   (504)363-5701
                                                                          Fax:      (504)363-5711
                                                                          Email:    Valenti_lm@jpso.com



                                              March 17, 2020


Via Email: faxfilecriminal24(tf jpclerkofcourtus
The Honorable Jon A. Gegenheimer
24th Judicial District Court
P.O. Box 10
Gretna, LA 70054



          Re:      In Re: Daren Parsa
                   24th Judicial District Court - Commissioner Court, Docket No. 20-1456


Dear Clerk:

        Enclosed for filing by facsimile transmission via email, pursuant to LSA-RS 13:850 is a copy of a
Joint Memorandum in Opposition to Motion for Protection and Preservation. We ask that you please
acknowledge receipt of this transmission as required by LSA-RS 13:850. According to the Order released
by Chief Judge Kovach on March 16, 2020, non-emergency civil and criminal pleadings and motions
should be filed by electronic means only.

          Per LSA-RS 13:4521, the Sheriff is not required to pay any costs of these proceedings at this
time.

          Should you have any questions, please do not hesitate to contact me.



                                                  Very truly yours,



                                                  Lindsey MXjalenti
         24TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. CHARLES

                                  STATE OF LOUISIANA

NO. 20-1456                                                     COMMISSIONER COURT

                                   IN RE DAREN PARSA
FILED:
                                                         DEPUTY CLERK


                       JOINT MEMORANDUM IN OPPOSITION
                TO A MOTION FOR PROTECTION AND PRESERVATION

MAY IT PLEASE THE COURT:

         This memorandum in opposition is brought by Joseph P. Lopinto, III, in his capacity

as Sheriff of Jefferson Parish and Dr. Gerry Cvitanovich, in his capacity as Coroner of

Jefferson Parish.

   I.       Introduction

         On January 19, 2020, an incident occurred at a Jefferson Parish business that

ultimately resulted in the death of a minor. On January 22, 2020, the Jefferson Parish

Sheriff's Office applied for a search warrant. Upon review and finding of probable cause,

this Honorable Court granted the search warrant for any and all medical records, notes

and documents from Ormond Pediatrics and Doctor Thomas Babin regarding the minor,

referenced in opposing counsel's motion and hereinafter referred to as "E.P.".

         On March 5, 2020, E.P.’s parents filed a Motion for Protection and Preservation

over things seized pursuant to the search warrant as well as documents and testing

performed by the Jefferson Parish Coroner’s Office. It is important to note that E.P.’s

parents have filed an identical pleading before a St. Charles Parish Judge that is set to

be heard on March 18, 2020. Sheriff Lopinto and Dr. Cvitanovich respectfully request that

this Motion for Protection and Preservation be denied.

   II.       Standing

    Both Sheriff Lopinto and Dr. Cvitanovich assert that E.P.’s parents lack standing for

several reasons. First, as E.P. is deceased, his interests, if any, can only be represented

through a succession representative. La. Code Civ. Proc. Art. 685 provides “[ejxcept as

otherwise provided by law, the succession representative appointed by a court of this

state is the proper plaintiff to sue to enforce a right of the deceased or of his succession,

while the latter is under administration." See, also La. Code Civ. Proc. Art. 3191. Upon

                                               i
information and belief, no succession representative has been appointed by any court

and as such the parents of E.P. lack standing to bring any pleadings in the name of or on

behalf of E.P.

   The "predicate requirement of standing is satisfied if it can be said that the [litigant]

has an interest at stake in litigation which can be legally protected." In re: Melancon, 05-

1702, p. 9 (La.7/10/06), 935 So.2d 661, 668. Conversely, a litigant who is not asserting

a substantial existing legal right is without standing in court. Melancon, 05-1702 at p. 8,

935 So.2d at 667. The standing inquiry requires careful examination of whether a

particular litigant is entitled to an adjudication of the particular claims it has asserted.

Melancon, 05-1702 at p. 10, 935 So.2d at 668 (citing Allen v. Wright, 468 U.S. 737, 752,

104 S.Ct. 3315, 3325, 82 L.Ed.2d 556 (1984)). E.P.’s parents lack standing as they have

no “interest at stake in litigation”.

   ill.      The Motion for Protection and Preservation Lacks Merit

             a. Issue of Preservation

          Any request for preservation of records by way of this Motion should be denied as

moot. As your Honor is aware, the Louisiana Public Records Act requires that all public

records be preserved for a minimum period of three (3) years.        La. R.S. 44:1 et seq.

Additionally, on January 25, 2020, the Jefferson Parish Sheriffs Office and on February

18, 2020 the Jefferson Parish Coroner’s Office received anti-spoliation letters from

opposing counsel requesting, in a very accusatory manner, that all records be preserved.

Now, opposing counsel is unnecessarily requesting a third-tier responsibility to preserve

records. Opposing counsel has not indicated to this Court any evidence of either office’s

refusal to preserve these records. In fact, undersigned counsel for Sheriff Lopinto has

advised opposing counsel of its legal obligation under the Public Records Act to preserve

records as well as acknowledged its receipt of the anti-spoliation letter. As such, the

preservation order should be denied as such obligation of preservation is already in place.

             b. Issue of Protection

          Opposing counsel suggests that the items seized through the valid search warrant

should be protected because his clients are "concerned" about the release of the

materials to third parties.    However, he does not articulate the basis of such concern.

While he mentions videos of the incident posted by WWLTV, he curiously does not

                                               z
suggest that either the Sheriff or the Coroner was responsible for their release to the

news.    Furthermore, he fails to inform the Court that these videos were taken and

submitted by third party by-standers. There has been no actual or potential disclosure by

either the Sheriff or the Coroner of any information regarding this ongoing investigation.

Opposing counsel's accusations and his clients' concerns are unfounded. Furthermore,

any records that are sought to be protected are exempt from disclosure to the public as

stated in Louisiana Revised Statute 44:3. It is neither the practice of Sheriff Lopinto nor

Dr. Cvitanovich to release information relative to pending criminal and/or death

investigations and as such there is no legitimate concern that any information would be

released to the public.

        Opposing counsel relies on La. R.S. 14:133.7 and its prohibition of publication of

criminal record information of a child absent a Motion for Disclosure. However, the

application of this statute is misplaced. La. 14:133.7 prohibits the release of the criminal

record and/or criminal history of a juvenile. As the records in the custody of the Sheriff

and/or Coroner constitute neither of the foregoing, La. R.S. 14:133.7 is completely

irrelevant as it relates to any records regarding E.P.

        Similarly, La. R.S. 40:2019 does not apply to this case. La. R.S. 40:2019 created

the Louisiana State Child Death Review Panel to identify the cause of death of children

below the age of fifteen. The publication prohibition contained therein is not applicable to

this matter as E. P. was sixteen at the time of his death. Furthermore, even if E.P. were

under the age of fifteen, La. R.S. 40:2019 would still not apply because the statute’s

application is strictly limited to a Child Death Review Panel. It does not apply to either

the Jefferson Parish Sheriff’s Office or the Jefferson Parish Coroner’s Office.

        Opposing counsel’s reliance on La. R.S. 40:20120 is also misplaced, as the statute

only prohibits the office for citizens with developmental disabilities and the office of aging

and adult services within the Louisiana Department of Health from releasing any

information. Very obviously, neither the Jefferson Parish Sheriffs Office nor the Jefferson

Parish Coroner’s Office fall within either category and as a result are not bound by these

statutes.

To date, the cause and manner of death of E.P. has not been determined by the Jefferson

Parish Coroner's Office and the investigation is ongoing. A request for a protective order

                                              3
by non-parties is premature and inappropriate.        Opposing counsel and his clients are

trying to dictate how the Sheriff and the Coroner are permitted to utilize the information

collected. These legal machinations are unprecedented               and interfere with the

constitutional mandates of the Sheriffs office and the Coroner’s office.

The Sheriff, as Chief Law Enforcement Officer of Jefferson Parish, and the Coroner, as a

Constitutional officer statutorily mandated to conduct investigations concerning the

manner and cause of death, are entitled to conduct their investigations and to use any

resource available without interference of third parties. If the Sheriff or the Coroner elect

to share any part of their investigation with any other law enforcement office, expert and/or

medical provider or any person who can aid in the conclusion of their independent

investigation, they are entitled to do so.

        Opposing counsel's efforts to interfere in this case come dangerously close to

impeding this ongoing criminal investigation.



                                       CONCLUSION

        Joseph P. Lopinto, III, in his capacity as Sheriff of Jefferson Parish, and Dr. Gerry

Cvitanovich, in his capacity as Coroner of Jefferson Parish suggest to this Honorable

Court that the Preservation Order is moot and the Protective Order is inappropriate at this

time.   In conjunction with all reasons stated above, this Honorable Court should deny

opposing counsel's Motion for Protection and Preservation.



                                                    Respectfully submitted:




                                                                                  #29724)
                                                                                  Suite 201

                                                    Tel. (504) 321-5000
                                                    Fax (504) 564-7387




                                                4
                                                 Respectfully submitted:



                                                 LINDSEY M.^ALENTI, Bar #33419
                                                 1233 Westbank Expressway
                                                 Building B, 5th Floor
                                                 Harvey, Louisiana 70058
                                                 Telephone: (504) 363-5701
                                                 Counsel for Joseph P. Lopinto, III, in his
                                                 Capacity as Sheriff of Jefferson Parish




                           CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing pleading has been sent to all

counsel of record by placing same in U. S. Mail, postage prepaid, facsimile, and/or email,
              n
on this the          day of




                                             5
